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 1                                                               JUDGE RICHARD A. JONES
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 3
 4
                               UNITED STATES DISTRICT COURT
 5
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,    )                    NO. CR16-171-RAJ
 8                                )
                Plaintiff,        )
 9                                )                    ORDER GRANTING
            vs.                   )                    STIPULATED MOTION
10                                )                    TO CONTINUE TRIAL
     RICARDO GERARDO-GALLARDO,    )                    AND PRETRIAL MOTIONS
11   ISAAC MARIANO MEZA-ESPINOZA, )                    DUE DATE
     JUAN CARLOS ANDRADE-BUENO,   )
12                                )
                Defendants.       )
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14
            THE COURT has considered the joint stipulated motion of the parties to
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     continue the trial date and pretrial motions deadline and finds that:
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            (a) taking into account the exercise of due diligence, a failure to grant a
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     continuance in this case would deny counsel for the defendants the reasonable time
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     necessary for effective preparation due to counsels’ need for more time to review the
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     evidence, consider possible defenses, and gather evidence material to the defense, as set
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     forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and
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            (b) a failure to grant such a continuance in this proceeding would likely result in
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     a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
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            (c) the additional time requested is a reasonable period of delay, as the
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     defendants have requested more time to prepare for trial, to investigate the matter, to
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     gather evidence material to the defense, and to consider possible defenses; and
26

                                                                  FEDERAL PUBLIC DEFENDER
      ORDER TO CONTINUE TRIAL AND                                    1601 Fifth Avenue, Suite 700
      PRETRIAL MOTIONS DUE DATE                                        Seattle, Washington 98101
      Gerardo–Gallardo et al. / CR16-171-RAJ - 1                                  (206) 553-1100
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 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendants in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4          (e) the additional time requested between the current trial date of August 15 and
 5   the new trial date is necessary to provide counsel for the defendants the reasonable time
 6   necessary to prepare for trial, considering counsels’ schedules and all of the facts set
 7   forth above.
 8          IT IS THEREFORE ORDERED that the parties’ Joint Stipulated Motion to
 9   Continue Trial Date and Pretrial Motions Deadline (Dkt. #37) is GRANTED. The trial
10   date in this matter shall be continued to November 14, 2016. All pretrial motions,
11   including motions in limine, shall be filed no later than October 13, 2016.
12          IT IS FURTHER ORDERED that the period of delay from the date of this order
13   to the new trial date of November 14, 2016, is excludable time pursuant to 18 U.S.C.
14   §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
15          DATED this 21st day of July, 2016.
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17
                                                        A
                                                        The Honorable Richard A. Jones
18                                                      United States District Judge
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                                                                  FEDERAL PUBLIC DEFENDER
      ORDER TO CONTINUE TRIAL AND                                    1601 Fifth Avenue, Suite 700
      PRETRIAL MOTIONS DUE DATE                                        Seattle, Washington 98101
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